Case 2:19-cv-01596 Document 1 Filed 04/12/19 Page 1 of 13

IN 'I`HE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT ()F PENNSYLVANIA

 

 

OPE MOLLEY
200 West Creek Village Dr., Apt. FS
Elkton, MD 21921
CIVIL ACTION
Plaintiff, :
v. : No.:

SOUTI-IWEST AIRLINES CO.
d/Z)/a SOUTHW'EST AIRLINES :
800 Essington Avenue : JURY TRIAL DEMANDED
Philadelphia, PA 19153 :

Defendant.

CIVIL ACTION COMPLAINT

 

Plaintit`f, Ope Molley (hereinafter referred to as “Plaintiff”), by and through his

undersigned counsel, hereby avers as follows:
INTRODUCTION

l. Plajntiff has initiated this action to redress violations by Southwest Airlines Co.
d/b/a Southwest Airlines (hereina]€‘er “Defendant”) of Title Vll of the Civil Rights Act of 1964
(“Title Vll” ~ 42 U.S.C. §§ 2000(d) er seq.), Section 1981 of the Civil Rights Act of 1866 (“Section
1981” _ 42 U.S.C. § 1981), the Pennsylvania Human Relations Act (“PHRA”), and the
Philadelphia Fair Practices Ordinance (“PFPO”).l Plaintift` Was unlawfully terminated by

Defendant, and he suffered damages more fully described/sought herein.

 

1 Plaintiff"s claims under the PI-IRA and PFPO are referenced herein for notice purposes He is required to wait 1 full
year before initiating a lawsuit from date of dual-filing with the EEOC. Plaintit`f must however file his lawsuit in
advance of same because of the date of issuance of his federal right-to-sue-letter under Title VII. Plaintiff’s PHRA
and PFPO claims however will mirror identically his federal claims under Title VlI.

 

Case 2:19-cv-01596 Document 1 Filed 04/12/19 Page 2 of 13

JURISDICTION AND VENUE

2. This Court has original subject matter jurisdiction over the instant action pursuant
to 28 U.S.C. §§ 1331 and 1343(a)(4) because it arises under the laws of the United States and seeks
redress for violations of federal laws.

3. This Court may properly assert personal jurisdiction over Defendant because its
contacts with this state and this judicial district are sufficient for the exercise of jurisdiction over
Defendant to comply with traditional notions of fair play and substantial justice, satisfying the
standard set forth by the United States Supreme Court in Inr’l Shoe Co. v. Washz'ngton, 326 U.S.
310 (1945), and its progeny

4. Pursuant to 28 U.S.C, § 1392(b)(1) and (b)(Z), venue is properly laid in this district
because Defendant is deemed to reside where it is subjected to personal jurisdiction, rendering
Defendant a resident of the Eastern District of Pennsylvania.

5. Plaintiff is proceeding herein (in pait) under Title Vll after properly exhausting all
administrative remedies with respect to such claims by timely filing a Charge of Discrimination
with the Equal Employment Opportunity Cornmission (“EEOC”) and by filing the instant lawsuit

within ninety (90) days of receiving a notice of dismissal and/or right to sue letter from the EEOC.

PARTIES
6. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.
7. Plaintiff is an adult individual with an address set forth in the caption.
8. Defendant is a major United States airline headquartered in Dallas, Texas, with

terminals in several states (including Pennsylvania). Plaintiff was hired through and worked at

Defendant’s Philadelphia lnternational Airport terminal with an address set forth in the caption.

 

Case 2:19-cv-01596 Document 1 Filed 04/12/19 Page 3 of 13

9. At all times relevant herein, Defendant acted by and through its agents, servants
and employees, each of Whom acted at all times relevant herein in the course and scope of their
employment with and for the Defendant

FACTUAL BACKGROUND

10. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
liill.

11. Plaintiff is a black male from Africa (Liberia).

12. Plaintiff was employed by Defendant as a ramp agent from in or about Novernber
of 2010 until his unlawful termination (as discussed inj$'a) on or about November 20, 2018.

13, While employed with Defendant, Plaintiff was a hard-working employee who
performed his job well.

14. Toward the end of his tenure with Defendant, Plaintiff and two black (African) co-
workers,2 Allie Fofana (herez`naji‘er “Fofana”) and Kani Amodou l\/leite (hereinaj@‘er “Meite”),
were accused of violating Defendant’s travel/ guest pass policy.

15 . For exarnple, Defendant has a rewards program for employees which awards them
travel/ guest “passes,” i.e. the right to “nonrevenue travel” based on employee attendance and work
performance

16, Defendant allowed Plaintiff and other employees to have a certain number of
travel/ guest passes to use for themselves or for certain classes of relatives and friends.

17. Defendant has policies applicable to the misuse and/or abuse of employee travel

privileges known as the Employee Travel Privilege Policies (“ETPP”).

 

2 Allie Fofana and Kani Amadou Meite are from the African regions of Sierra Leone and the lvory Coast, respectively

3

 

 

Case 2:19-cv-01596 Document 1 Filed 04/12/19 Page 4 of 13

18. Defendant’ s guest pass policy prohibits the “confirmed sale or confirmed attempted
sale of any type of nonrevenue pass.”

19. Upon Plaintiff’ s information and belief, he, Fofana and Meite were targeted
because of their race/national origin and Defendant’s travel/guest pass policy was selectively
enforced against them in a disparate manner.

20. For example, on or about September 25, 2018, Plaintiff Was pulled from his ramp
duties and informed by Defendant’s management that Defendant’s corporate representatives and
management needed to meet with him immediately to discuss travel/ guest passes.

21. Prior to attending the September 25, 2018 meeting, Plaintiff reached out to
supervisor Sean Burns (Caucasian, hereinafter “Burns”), who informed Plaintiff that he had three
options With regard to the meeting: ( 1) he could cooperate and answer questions; (2) he could
cooperate and answer questions with union representation present; or (3) he could refuse to
cooperate and answer any questions _ which would result in an immediate fact~fmding and his
probable termination Plaintiff opted to attend the meeting with union representatives Al<eem
Moore (African-American, hereinaji‘er “Moore”) and Kevin Calabrese (Caucasian, hereinafter
“Calabrese”).

22. Also present at the September 25, 2018 meeting were Defendant’s Security
Manager Aim Marie Donalson (Caucasian, hereihaji‘er “Donalson”), Senior Manager of Business
and Operations Services, Robert Dusseau (Caucasian, hereina]i‘er “Dusseau”); Security
lnvestigator, Kayla Rolen (Caucasian, hereinafter “Rolen”), and Bums.

23. During the September 25, 2018 meeting, Donalson informed Plaintiff that

Defendant was investigating travel/guest pass abuse and hostiler questioned Plaintiff as to

 

Case 2:19-cv-01596 Document 1 Filed 04/12/19 Page 5 of 13

Whether he had ever given his co-workers money for the travel/guest passes that were gifted to
him and if the travel/ guest passes he transferred were for relatives and friends

24. ln response to Donalson’s questions at the meeting on September 25, 2018,
Plaintiff informed her that: (l) he did not purchase or sell any passes; (2) any passes given to him
or his black (African) co-workers were gifts; and (3) any funds he gave to his co-workers for the
passes were given without prior agreement and only if the co-worker requested reimbursement for
taxes payable in respect of the travel/ guest passes transferred to him.3

25. At the conclusion of the meeting on September 25, 2018, Donalson required
Plaintiff to write a statement indicating that he had received travel/ guest passes from co-workers,
which he gave to family and friends for travel purposes, and that he gave around $lO0.00 cash to
his co-workers to cover the taxes charged to them.

26. Plaintiff avers that Donalson told him exactly what to write in the statement he
drafted on or about September 25, 2018, and that he only did so to retain his position with
Defendant and so that he remained eligible for health care benefits

27 . Shortly after Plaintiff’s meeting with Donalson and Defendant’s corporate
representatives and management on or about September 25, 2018, Plaintiff discovered that his
travel benefits account had been closed and all of his travel/guest passes had been removed from
his account

28. After discovering that his travel benefits account had been deactivated and his

travel/ guest passes removed, Plaintiff called Defendant’s corporate representative and Donalson

 

3 Upon Plaintiff’s information and belief, taxes are subtracted from the original recipient’s paycheck before the original
recipient is able to redeem or transfer the travel/guest passes

 

Case 2:19-cv-01596 Document 1 Filed 04/12/19 Page 6 of 13

to inquire why Defendant had discontinued his travel benefits while he was still employed with
Defendant Donalson replied that it had been a mistake and that his account would be reactivated.4

29. ln response to Donalson’s claim that Plaintiff’s travel benefit account had been
mistakenly deactivated, Plaintiff informed Donalson that he believed that he, Fofana, and Meite
were being discriminated against based on their race and/or national origin and that Defendant’s
management had not investigated or spoken to Plaintiff s Caucasian co-workers and/ or supervisors
who transferred the guest passes and requested and/or accepted tax money for the guest passes
Donalson replied only, “I’m sorry if you see it that way.”

3 0. Instead of investigating Plaintiff’ s aforesaid complaints of and/ or objections to race
and/or national origin discrimination, Defendant’s management ignored them and left his
legitimate concerns unresolved

31. On or about Novernber 10, 2018, Plaintiff received a notice from Bums stating that
his attendance was required at a fact-finding meeting scheduled for November 14, 2018, to discuss
the ETPP and that Plaintiff was “suspended with pay pending the fact-finding meeting and
subsequent results.”

32. Plaintiff was unable to attend the November 14, 2018 fact-finding meeting because
of inclement Weather, and the meeting was rescheduled for November 20, 2018.

33. On or about November 20, 2018, Plaintiff attended the fact-finding conference and
was again questioned about whether he bought or sold any travel/ guest passes, which he denied.

34. At the conclusion of the November 20, 2018 fact-finding conference, Plaintiff
received a memorandum from Burns stating that Defendant had concluded that Plaintiff was

“involved in the buying and selling of Southwest Airline Guest Passes” and that his employment

 

4 Plaintiff avers that his travel benefits account was reactivated shortly after his discussion about same with Donalson;
however, his travel/guest passes were never returned to his account

6

 

Case 2:19-cv-01596 Document 1 Filed 04/12/19 Page 7 of 13

with Defendant was “terminated effective immediately.” Defendant’s management asked Plaintiff
to immediately retrieve his belongings and leave the premises

35. Plaintiff believes and therefore avers that Defendant’s purported reason for
terminating him - that he was involved in the buying and selling of Defendant’s travel/ guest passes
- is completely pretextual because (1) Plaintiff was a hard-working employee who performed his
job well; (2) Plaintiff never bought or sold Defendant’s travel/guest passes; (3) while Plaintiff
contests buying or selling travel/guest passes, Defendant’s ETPP prohibits o_nly the selling or
attempted selling of guest passes', (4) Plaintiff’s complaints of race and/or national origin
discrimination were not meaningfully investigated, or resolved and did not result in any discipline
or termination of employees; (5) Plaintiff was terminated in close proximity to his concerns of race
and/ or national origin discrimination; (6) Plaintiff and other African employees were treated
disparately because of race/national origin (as discussed supra)', (7) upon Plaintiff s information
and belief, Plaintiff’ s African co-workers, Fofana and Meite, were terminated for allegedly having
committed the same or similar conduct for which Plaintiff was alleged to have committed and for
which he Was terminated, and (8) other Caucasian employees who have committed the same or
similar conduct, for which Plaintiff was alleged to have committed and for which he was
terminated, have not been questioned, disciplined, suspended, or terminated

36. Plaintiff believes and therefore avers that he was terminated because of his
race/national origin and in retaliation for his complaints of race/national origin discrimination

C()UNT 1
Violation of Title VII of the Civil Rights Act of 1964 (“Title VII”)
([1] Race/National Origin Discrirnination; & [2] Retaliation)
37. The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

 

 

Case 2:19-cv-01596 Document 1 Filed 04/12/19 Page 8 of 13

38. During Plaintiff s employment with Defendant, he was subjected to discrimination
and disparate treatment with regard to Defendant’s policies and termination because of his
race/national origin and/or complaints of race/national origin discrimination

39. Shortly before his termination, Plaintiff complained of race/national origin
discrimination to Defendant’s management

40. Instead of investigating Plaintiff’ s aforesaid complaints of and/or objections to race
and/or national origin discrimination Defendant’s management ignored them and left his
legitimate concerns unresolved

41. Plaintiff was abruptly terminated on or about November 20, 2018, in close
proximity to his complaints of race/national origin discrimination

42. Plaintiff believes and therefore avers that he was terminated because of his
race/national origin, and his complaints about race/national origin discrimination.

43. These actions as aforesaid constitute violations of Title VIl.

COUNT II
Violation of 42 U.S.C. St§t_ion 1981
([1] Race Discrimination; & [2] Retaliation)

44. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.

45. During Plaintiff’s employment with Defendant, he was subjected to discrimination
and disparate treatment with regard to Defendant’s policies and termination because of his race
and/or complaints of race discrimination

46. Shortly before his termination Plaintiff complained of race discrimination to

Defendant’s management

 

Case 2:19-cv-01596 Document 1 Filed 04/12/19 Page 9 of 13

47. Instead of investigating Plaintiff s aforesaid complaints of and/or objections to race
discrimination Defendant’s management ignored them and left his legitimate concerns
unresolved

48. Plaintiff was abruptly terminated on or about November 20, 2018, in close
proximity to his complaints of race discrimination

49. Plaintiff believes and therefore avers that he was terminated because of his race and
his complaints about race discrimination

50. These actions as aforesaid constitute unlawful discrimination and retaliation under
Section 1981.

WHEREFORE, Plaintiff prays that this Court enter an Order providing that:

A. Defendant is to promulgate and adhere to a policy prohibiting discrimination and
retaliation in the future against any employee(s);

B. Defendant is to compensate Plaintiff, reimburse Plaintiff, and make Plaintiff whole
for any and all pay and benefits Plaintiff would have received had it not been for Defendant’s
illegal actions, including but not limited to back pay, front pay, salary, pay increases, bonuses,
insurance, benefits, training, promotions, reinstatement and seniority;

C. Plaintiff is to be awarded punitive damages, as permitted by applicable law, in an
amount believed by the Court or trier of fact to be appropriate to punish Defendant for its willful,
deliberate, malicious and outrageous conduct and to deter Defendant or other employers from
engaging in such misconduct in the future;

D. Plaintiff is to be accorded other equitable and legal relief as the Court deems just,
proper and appropriate (including but not limited to damages for emotional distress, pain, suffering

and humiliation); and

 

Case 2:19-cv-01596 Document 1 Filed 04/12/19 Page 10 of 13

E. Plaintiff is to be awarded the costs and expenses of this action and reasonable

attorney’s fees as provided by applicable federal and state law.

Dated: April 12, 2019

10

Respectfully submitted,

KARPF, KARPF & CERUTTI, P.C.

Ari Rc:t`rtfpr,~ssq'j`

3331 Street Rd.

Two Greenwood Square, Suite 128
Bensalem, PA 19020

(215) 639-0801

 

 

Case 2:19-cv-01596 Document 1 Filed 04/12/19 Page 11 of 13

IN THE UNI'I'ED STATES DISTRICT COURT
l FOR THE EABTERN DISTRICT OF' PENNSYLVANIA

CA NT ll F

Ope Moliey CIVIL ACTION
_V, 2
Southwest A'rrlines Co. 'd/bla Southwest Airlinesi ` l NO_

ln accordance with the Civil Iustice Expense and De]ay R.eductien Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Fon'n in all civil cases at the time of
filing the complaint end serve a coply on all defendants (See § 1:03 ofthc plan set fortli- on the reverse
aide of this form. In the event at a defendant does not agree With_ the laintiff regarding said
designation that efendant shall, with its first appearance submit to the elec of court and serve on`
the plaintiff and all other parties a Caae Manegement Track Designation_ Form specifying the track
to which that defendant believes the case should be assigned '

SELECT ONE O.El` THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpcs - Caacs brought under Z'SU.S.C. § 2241 through § 2255. ( )

(b) Social Security -- Cases requesting review of a decision of the Secretary ot`llealth
and Human Services denying plaintiff Social Security Beneiits. 1 ( )

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.' ( `)
(d) Asbes`tos - Cases involving claims for personal injury or_ property damage from , '
exposure to asbestos ( )

(e) Speclal Manafgement - Cases that do not fall into tracks (a) through (d} that are
commonly re erred to as complex and that need special or intense management by
the court (See reverse side of this form for a detailed explanation of special

 

 

 

 

 

management cases.) t ( )
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Date Attorney~at-law Attorney for
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Wephone FAX Number E-Mail Address

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Case 2:19-Cv-01596 Document 1 Filed 04/12/19 Page 12 of 13
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ron run EASTERN DISTRICT oF PENNSYLVANIA

DESIGNATION FORM
(ro be used by counsel or pro se plainti§” to indicate the category of the case for the purpose of assignment to the appropriate calendar)

Address of Plaintiff: 200 West Creek Village Drive, Apt F5, Elkton, MD 21921

 

Addrcss of Defendant 800 Essington Avenue, Philadelphia, PA 19153

 

Place of Accident, lncident or Transaction: Defendant's place of business

 

RELA TED CASE, !FANY.'

Case Number: Judge: Date Terminated:

 

Civil cases are deemed related when Yes is answered to any of the following questions:

l. ls this case related to property included in an earlier numbered Suit pending or within one year ch m No
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out ofthe same transaction as a prior suit ch E No
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement of a patent already in suitor any earlier \’es |: No
numbered case pending or Within one year previously terminated action of this court?

4. ls this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes |:| ' No
case filed by the same individual?

l certify that, to my knowledge, the within case m is f m is not related to any case now pending or within one year previously terminated action in
this court except as noted above.

..__mM--.

DATE: 4/].2/2019 l . W-’-T. AR_K2484 /91538

 

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CIVIL: (Place a il in one category unly)

 

 

A. Fedem[ Questr`on Crrses: B. Diversfiy Juris¢l'icri'on Cases:
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E 4 Antitrust m 4. Marinc Pcrsonal lnjury

5 Patcnt m 5. Motor Vehicle Personal lnjury
E 6 Labor-Management Relations E 6. Other Personal lnjury (Please speci)j)):
'7 Civil Rights I:] 7. Produ cts liability
|:| 8 Habeas Corpus l:] 8. Products Liability - Asbestos

9. Securitics Act(S) Cascs g 9. All other Diversity Cases
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m l l. All other Federal Qucstion Cases

(Pl`ease speci]§)):

 

 

 

 

ARBITRATION CERTIFICATION
(The q‘,i”ec't cfiht`.r certification is to remove the cascfr'om. cligr`bil:`i"vfcr ar'b£!rtrtt`orz.)

l, Ari R- Karpf , counsel of record or pro se plaintifl`, do hereby certify:

 

Pursuant to l_.ocal Civil Rule 53.2, § 3(c ) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $l 50,000.00 exclusive of interest and costs:

|:' Relief other than monetary damages is sought.

  
 

_ ARK2484/91538
¥lt$rney-at-Law /Pro Se Plaintiff A!!orney l'.D. # (tfapplz`cable)

DATE; 4/12/2019

NOTE: A trial de novo will be a trial byjury only ifthere has been compliance with F.R.C.P. 38.

 

Ci‘vv 609 (5/20.'8}

 

 

Case 2:19-Cv-01596 Document 1 Filed 04/12/19 Page 13 of 13
CIVIL COVER SI-IEET

Tlie JS 44 civil cover sheet and the information contained herein neither replace nor sup‘pllement the filin

JS 44 (Rev. 06/17)

and service of pleadings or other papers as re uired b law, except as

provided b local rules ofcourt This form, approved by the Judicial Conference of the nited States in eptember 1974, is required for the usc of the C(1erk of ourt for the

purpose 0 initiating the civil docket sheet
I. (a) PLAINTIFFS

MOLLEY, OPE`,

(SEE wsm Ucrro)vs o,v NEXT PAGE or mrs FORM.)
DEFENDANTS

(b) County of Residence of First Listed Plaintiff C€Cil
(EXCEPTIN U.S. PLA}NTIFFCASES)

County of Residence ofFirst Listed Defendant

NOTE: 1N LAND CONDEMNATION CASES, USE THE
THE TRACT OF LAND INVOLVED.
(C) Al'fDr'nCyS fFr'l'm Name. Address. and F'elephane Number) A'CLOI'nCyS (iffKrioM'n)

Karpf, Karpf& Cerutti, P.C.; 3331 Street Road, Two Greenwood Square
Suite 128, Bensalem, PA 19020; (215) 639-080]; akarpf@karpf-law.com

 

SOUTHWEST A[RLINES CO. d/b/a SOUTHWEST AIRLINES

Philadelphia
(!N U.S PLA JNTIFF CA SES ONLY)

LOCATION OF

 

 

 

    
      

    
   
  

 

     

    

  
 

 

 

   

  

 

          

 
    

   
    

H. BASIS OF JURlSDICTION (Pi'ace an "X" in Orze Box On!y) III. CITIZENSHIP OF PRINCIPAL PARTIES (P!ace an ‘”X" r'n‘ One Boxfar Pla.|`m§'f f
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V. ORIGIN (F.’ace an "X" in One Bex Om'y)

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Tltle VII (42USC2000); Sectlon 1981 (4£USC1981])

Brief description of cause:

VI. CAUSE OF ACTION

 

Violations of Titlc VlI, Section 1931, Pennsylvarlia Human Reletions Aet and the Philadelphia Fair Practices Ordinance.

 

 

 

 

 

 

VIl. REQUESTED IN 0 cHECK tr mls rs A CLASS ACTION DEMAND $ CHECK YES only ifdemanded in compraim;
COMPLAINT: UNDER RULE 23, F~R-CV.P- JURY DEMANI): XYes ’Nn
VII!. RELATED CASE(S) `
IF ANY 696 mmmm)` JUDGE DOCKET NUMBER
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DATE SIGNATURE 0 AT ORN

4/12/2019 W//FM

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